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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


ANTWYNN BEAVERS                          :
                                         :   NO. 1:04-CR-00060(4)
           Petitioner,                   :   CIVIL NO. 1:05-CV-00404
                                         :
                                         :
   v.                                    :   OPINION AND ORDER
                                         :
                                         :
UNITED STATES OF AMERICA                 :
                                         :
           Respondent.                   :


                    This matter is before the Court on the Petitioner

Antwynn   Beavers’s        Motion   to    Resentence   (doc.     316)    and   the

Government’s Response to Petitioner’s Motion to Vacate Sentence

(doc. 318).    Petitioner requests the Court resentence him pursuant

to 28 U.S.C. § 2255, taking into consideration the Supreme Court’s

decisions in United States v. Booker, __ U.S. __, 125 S.Ct. 738,

160 L. Ed.2d 621 (2005) and Blakely v. Washington, 524 U.S. 296

(2004).       For    the    reasons      stated   below,   the   Court    denies

Petitioner’s request.

                    28 U.S.C. § 2255 states in pertinent part:

           A prisoner in custody under sentence of a
           court established by Act of Congress claiming
           the right to be released upon the ground that
           the sentence was imposed in violation of the
           Constitution or laws of the United States, or
           that the court was without jurisdiction to
           impose such sentence, or that the sentence was
           in excess of the maximum authorized by law, or
           is otherwise subject to collateral attack, may
           move the court which imposed the sentence to
           vacate, set aside or correct the sentence.
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28 U.S.C. § 2255.        Petitioner notes that he is a prisoner in

custody under sentence of this Court, having pleaded guilty to one

count of Conspiracy to Distribute and Possess with the Attempt to

Distribute and Attempt to Distribute and Possess with Intent to

Distribute Cocaine and Cocaine Base in violation fo 21 U.S.C. §§

846 and 841(a)(1), b(1)(A)(iii), and (b)(1)(B)(ii) (doc. 316).

                 Petitioner was sentenced to 144 months pursuant to

the Federal Sentencing Reform Act of 1984, as amended 18 U.S.C. §

3551 et seq., 28 U.S.C. § 991 et seq. (doc. 316).                   Petitioner

maintains that this sentence (1) violates the Constitution and laws

of the United States, (2) that this Court was without jurisdiction

to impose such a sentence, and (3) that the sentence was in excess

of the maximum authorized by law (Id.).                 Accordingly, argues

Petitioner, this Court must vacate, set aside and correct the

sentence imposed upon him (Id.).

                 Petitioner      argues     that   Booker,     decided    after

Petitioner was sentenced, held that (1) the Sixth Amendment is

violated by the imposition of an enhanced sentence under the United

States Sentencing Commission’s Guidelines (hereinafter “Sentencing

Guidelines”) based on the sentencing judge’s determination of a

fact (other than a prior conviction) that was not found by the jury

or admitted by the defendant and (2) provisions of the Sentencing

Guidelines which made them mandatory are unconstitutional.               Booker

at 769.    Ultimately, Booker held that the Sentencing Guidelines


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were to be advisory.        Id.

                    Petitioner maintains that the 144 month sentence

given    to   him    included       enhancements    based    on    the    Court’s

determination of facts that were not found by the jury or admitted

by Petitioner (doc. 316).              Petitioner claims he admitted to

knowingly, willfully, intentionally, and unlawfully conspiring with

others to distribute cocaine and cocaine base in the Southern

District of Ohio (Id.).         He avers that he never admitted to being

an organizer, leader, manager, or supervisor in the conspiracy

(Id.).    In fact, Petitioner notes that he objected to his offense

level    which   was     increased    by   three    levels   for    his   alleged

leadership role in the conspiracy (Id.).

                    The United States Probation Office’s Pre-Sentence

Investigation Report (“PSIR”) recommended Petitioner’s offense

level be increased based upon the determination that there was a

“preponderance      of   the   evidence    to   prove   Beavers     [Petitioner]

managed that activities of [others] during the course of this

conspiracy” (Id.).         No jury determined these allegations beyond a

reasonable doubt, argues Petitioner, as required by Booker (Id.).

As   a   result,     the    Court     imposed   a    stiffer      sentence   than

constitutionally permitted (Id.).

                    Petitioner acknowledges that the Sixth Circuit in

United States v. Shelton, 400 F.3d 1325 (6th Cir. 2005) ruled that

the Supreme Court’s decision in Almendarez-Tores v. United States,


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523 U.S. 224 (1998) was not abrogated by Booker (doc. 316).

Almendarez v. Tores held that the government need not prove beyond

a reasonable doubt that a defendant had prior convictions for a

district court to use those convictions for purposes of enhancing

a sentence.     Id.     Minor misdemeanor drug convictions are not,

argues Petitioner, convictions in Ohio and, as such, do not qualify

as “prior convictions” for purposes of enhancing a sentence (doc.

316).     Petitioner maintains that a minor marijuana misdemeanor

conviction is “not considered a criminal record” (Id.). Petitioner

further states, “. . . the United States Government should not be

allowed to make criminal what the State of Ohio has deemed to be an

offense which is not a considered a criminal record” (Id.).

                 The Court, avers Petitioner, enhanced his sentence,

pursuant to United States v. Stubblefield, 265 F.3d 345 (6th Cir.

2001), one criminal history point for several of these minor

misdemeanor drug abuse charges discussed above (Id.). Ohio Revised

Code § 2925.11(D) reads:

            Arrest or conviction for a minor misdemeanor
            violation of this section does not constitute
            a criminal record and need not be reported by
            the person so arrested or convicted in
            response to any inquiries about the person’s
            criminal record, including any inquiries
            contained in any application for employment,
            license, or other right or privilege, or made
            in connection with the persons appearance as
            witness.

Id.     The Court’s determination that these minor misdemeanor drug

abuse cases amounted to “prior convictions,” asserts Petitioner,

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was in violation of his Sixth and Fourteenth Amendment rights (doc.

316).      However,      Stubblefield     held   that    a     minor   misdemeanor

conviction for possession of less than one hundred grams of

marijuana was not an “expunged conviction” and, thus, a district

court could consider such convictions as part of a defendant’s

criminal history.        Stubblefield at 347.

                   Petitioner        asserts     that        the   reasoning      in

Stubblefield is flawed, but does not ask this Court to reexamine

that decision (doc. 316).           Rather, Petitioner asks this Court to

determine      whether    a    defendant’s     minor    misdemeanor       marijuana

possession conviction, because it does not constitute a criminal

record under Ohio law, should be considered a “prior sentence”

under the Sentencing Guidelines (Id.).            Petitioner urges the Court

to answer this question in the negative (Id.).

                   Petitioner avers that a “prior sentence” as defined

by the Sentencing Guidelines “means any sentence previously imposed

upon adjudication of guilt, whether by guilty plea, trial, or plea

of nolo contendere, for conduct not part of the instant offense

(Id.). Thus, maintains Petitioner, a “prior sentence” must consist

of   (1)   a   sentence,      (2)   imposition   of    the    sentence,    and   (3)

adjudication (Id.).           Petitioner maintains that he did not receive

a “sentence” for the minor drug abuse misdemeanors at issue (Id.).

These minor offenses for which Petitioner was convicted, were as

Petitioner names them, “weed tickets” (Id.).


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                     Satisfying a “weed ticket,” according to Petitioner,

simply involved taking the ticket to the county clerk of court’s

office and paying the established fine (Id.).                   Receipt of a “weed

ticket” does not require that the recipient appear in court (Id.).

Accordingly, argues Petitioner, there was no judgment formally

pronounced by a court because he never appeared in court, never saw

a judge, and never was pronounced guilty (Id.).                   Petitioner also

argues   that    the       inclusion    of   the    Ohio   marijuana     possession

convictions     in    Petitioner’s       criminal     history    score   under   the

Sentencing Guidelines violates his Ninth and Tenth Amendment rights

(Id.).

                     The    Court   finds    it    instructive    to   recite    some

additional facts pertinent to this matter.                 At Petitioner’s guilty

plea, he accepted the Government’s recitation of the Plea Agreement

as being true and accurate (doc. 318).                 Furthermore, Petitioner

also admitted that the Statement of Facts, as read by the Special

Agent, were correct (Id.).             At Petitioner’s sentencing, the Court

reviewed the report prepared by the probation department along with

Petitioner’s criminal history (Id.).                 Petitioner’s base offense

level was determined to be a 34 (Id.).               His base offense level was

then increased by two levels for his role in the offense (Id.).                     A

reduction   of   three       levels    was   then    applied     for   Petitioner’s

acceptance of responsibility (Id.).                A further reduction of three

levels was granted pursuant to the Government’s motion for a


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downward     departure   (Id.).      Petitioner’s     total    offense    level

ultimately was 30 (Id.).

                  Petitioner’s criminal history category was a III

(Id.).     Taking into consideration the base offense level of 30 and

a criminal history category of III, the imprisonment range was

between 121 and 151 months (Id.).             The Court, as noted above,

sentenced Petitioner to 144 months incarceration to be followed by

five years of supervised release (Id.).           Additionally, Petitioner

was ordered to pay a $2,000.00 fine along with a $100.00 special

assessment (Id.). The Court sentenced Petitioner to 151 months if,

in   the   alternative,    the    constitutionality      of   the   Sentencing

Guidelines was called into question by the Supreme Court in Booker.

On November 5, 2004, Petitioner filed a Motion to find him indigent

and to appoint counsel (Id.).         On November 8, 2004, Petitioner’s

trial counsel filed a notice of appearance for purposes of appeal

(Id.).

                  On January 21, 2005, Petitioner’s motion to find him

indigent and appoint counsel was denied (Id.).                A copy of this

Order was filed by the U.S. Court of Appeals for the Sixth Circuit

on March 3, 2005 (Id.).      On March 22, 2005, the Sixth Circuit filed

an Order dismissing Petitioner’s appeal for want of prosecution for

not paying a required fee (Id.).         On March 24, 2005, a copy of the

Sixth Circuit’s Order was filed with the district court (Id.).                On

June 13, 2005, Petitioner filed the Motion currently before the


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Court (doc. 316).

                  The Government argues that Petitioner is barred from

raising the claims enunciated in his Motion to Vacate because he

failed   to    raise    them    in   his   direct   criminal   appeal    (Id.).

Additionally, the Government maintains that Petitioner’s claims are

without merit (Id.).         Accordingly, the Government urges this Court

to deny Petitioner’s motion (Id.).

                  The Government argues that if any issue could have

been raised on direct appeal, the failure to raise it therein

precludes review in a section 2255 proceeding unless the Petitioner

can   show    cause    for   procedural      default   and   actual   prejudice

resulting from the errors of which Petitioner complains.                 United

States v. Frady, 456 U.S. 152 (1982); Ratliff v. United States, 999

F.2d 1023 (6th Cir. 1993). The Government notes that Petitioner has

not provided cause for his failure to raise his current claims

while on direct appeal and that failure to do so constitutes a

waiver of these claims (doc. 318 citing United States v. Walsh, 733

F.2d 31, 34-35 (6th Cir. 1984)).              Additionally, the Government

maintains that Petitioner was not prejudiced as his claims lack

merit (doc. 318).

                  The Government notes that Petitioner, despite his

intention to appeal (evidenced by his filing notice), was dismissed

for want of prosecution because he failed to pay the requisite

filing fee (Id.).       The Government argues that whether the failure


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to   file   said     fee   was   deliberate   or   inexcusable     neglect    is

irrelevant (Id.).          What is relevant, asserts the Government, is

that the fee was not paid and, consequently, Petitioner did not

take advantage of his first opportunity to raise his claims (Id.).

Accordingly, the Government urges the Court to deny Petitioner’s

motion (Id. citing Peltier v. Henman, 997 F.2d 461, 473 (8th Cir.

1993) citing McCleskey v. Zant, 499 U.S. 467, 489-90 (1991)).

                   Furthermore, the Government notes that this Court,

when sentencing Petitioner, imposed an alternative sentence in the

event   that   the    Sentencing    Guidelines     applicability    was   later

questioned (doc. 318).           The Supreme Court in Booker, as noted

above, did just that.            The Government cites United States v.

Barnett, 398 F.3d 516 (6th Cir. 2005), noting that since the

alternative sentence was imposed with the supposition that the

federal sentencing guidelines were not mandatory, the presumption

of prejudice asserted by the Petitioner is rebutted by clear and

specific evidence (doc. 318).

                   The Fourth Circuit, in United States v. Anderson,

124 Fed. Appx. 211 (4th Cir. 2005), the court refused to remand for

resentencing in lieu of Booker holding that:

            [B]ecause   the   alternative   sentence   the
            district court pronounced in case the federal
            sentencing guidelines were invalidated was
            identical to the mandatory sentence imposed
            under the federal sentencing guidelines as
            they existed at that time, any error resulting
            from the sentence imposed by the district
            court was harmless.

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Id.   Furthermore, the Eighth Circuit has concluded that remand is

futile when the district court imposed an alternative sentence

substantially similar to the sentence imposed by the Sentencing

Guidelines. United States v. Thompson, 403 F.3d 533 (8th Cir. 2005)

(sentencing judge sentenced defendant to 46 months in jail whether

sentencing guidelines were constitutional); but c.f., United States

v. Bruce, 413 F.3d 784 (8th Cir. 2005) (holding that a sentence

pursuant to the guidelines of 96 months and an alternative sentence

of 188 months differed substantially so as to require a remand).

                  The Sixth Circuit in United States v. Barnett, 398

F.3d 516 (6th Cir. 2005), found remand of a pre-Booker sentence is

required absent “clear and specific evidence that the district

court would not have, in any event, sentenced the defendant to a

lower sentence under an advisory Guidelines regime.”                Barnett at

529-30.   Furthermore, in United States v. Christopher, __ F.3d __,

2005 WL 1796193 (6th Cir., July 28, 2005), the Court noted that

“when a district court imposes alternative, identical sentences,

one under a regime in which Guidelines enhancements are not

mandatory, the harmlessness of any Booker error is established.”

Id. at *3 citing United States v. Strbac, No. 04-4158, 129 F. App’x

235, 237 (6th Cir., Apr. 25, 2005).          Here, the record is        evident

that the Court would not have sentenced defendant to a lower

sentence.     In fact, the Court would have, absent the mandatory

guidelines, sentenced Petitioner to the stiffest sentence within


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the   applicable     guideline     range.       As   such,    remand    is   not

appropriate.     See Barnett at 529-30.

                  The Court agrees with the Government.             First, the

Court finds that Petitioner should have raised his claims on direct

appeal; and, absent a showing of cause for his procedural default

and prejudice resulting from the alleged errors, Petitioner waives

his opportunity to raise these claims.                Here, Petitioner has

offered no excuse for his failure to raise his current claims on

direct appeal.     Second, even if Petitioner were to have proffered

excuse, he was not prejudiced as his claims lack merit.

                  Accordingly, Petitioner’s Motion to Vacate Sentence

is hereby DENIED.       Petitioner’s original sentence of 144 months

followed by five years of supervised release, a $2,000.00 fine, and

a special assessment of $100.00 stands.



      SO ORDERED.




Dated: August 4, 2005                s/S. Arthur Spiegel
                                     S. Arthur Spiegel
                                     United States Senior District Judge




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